    Case: 24-1537   Document: 15   Page: 1     Filed: 07/03/2024




                    Appeal No. 2024-1537

                            IN THE
       UNITED STATES COURT OF APPEALS
          FOR THE FEDERAL CIRCUIT



               Dura Systems Barriers, Inc.,

                                          Plaintiff-Appellee,

                              v.

              Van-Packer Co., Jeremias, Inc.

                                          Defendants-Appellants.


         Appeal from the United States District Court
               for the Central District of Illinois
    in Case No. 1:19-cv-01388-SLD-JDH, Judge Sara Darrow


BRIEF FOR APPELLEE DURASYSTEMS BARRIERS, INC.

                                     CHAD E. NYDEGGER
                                     BRIAN N. PLATT
                                     RYAN C. MORRIS
                                     WORKMAN NYDEGGER
                                     60 East South Temple, Suite 1000
                                     Salt Lake City, Utah 84111
                                     Telephone: (801) 533-9800
                            Attorneys for Appellee DuraSystems Barriers, Inc.
          Case: 24-1537   Document: 15    Page: 2   Filed: 07/03/2024




                      CERTIFICATE OF INTEREST

The undersigned counsel certifies the following:
  1. The full name of every party represented by the undersigned is:
        DuraSystems Barriers, Inc.

  2. The real party in interest represented by the undersigned is:
        DuraSystems Barriers, Inc.

   3. All parent companies and any publicly held companies that own 10
percent or more of the stock of the party represented by me are:
        None

   4. The names of all law firms and the partners or associates that appeared
for the party now represented by the undersigned below or are expected to
appear in this court are:
     CHAD E. NYDEGGER
     BRIAN N. PLATT
     RYAN C. MORRIS
     WORKMAN NYDEGGER
     60 East South Temple, Suite 1000
     Salt Lake City, Utah 84111
     (801) 533-9800
   5. The title and number of any case known to counsel to be pending in
this or any other court or agency that will directly affect or be directly
affected by this court’s decision in the pending appeal:
    None.

                                               DATED: JULY 3, 2024

                                               /s/ Chad E. Nydegger
                                               CHAD E. NYDEGGER



                                      i
               Case: 24-1537            Document: 15             Page: 3        Filed: 07/03/2024




                                       TABLE OF CONTENTS
                                                                                                              Page(s)

TABLE OF CONTENTS ........................................................................................ ii

TABLE OF AUTHORITIES ................................................................................... v

STATEMENT OF RELATED CASES ................................................................ vii

INTRODUCTION ................................................................................................... 1

COUNTERSTATEMENT OF THE ISSUES ......................................................... 3

COUNTERSTATEMENT OF THE CASE ............................................................ 3

I.      BACKGROUND............................................................................................ 3

        A.       Technology of the ’569 Patent........................................................... 3

        B.       Relevant Prosecution History of the ’569 Patent ........................... 8

        C.       Van-Packer’s Claim Construction Arguments Below ................ 12

        D.       The District Court’s Construction .................................................. 14

                 1.       The district court analyzed “thermal spacers” to
                          require the spacers to themselves thermally isolate,
                          but need not do so via a particular thermal material
                          property ................................................................................... 14

                 2.       The district court found “thermally isolating” to
                          mean limiting heat transfer, rather than preventing it
                          entirely ..................................................................................... 16

                 3.       The district court construed the phrase “thermal
                          spacers thermally isolating” ................................................. 18

        E.       Van-Packer’s Infringing Products .................................................. 19

SUMMARY OF THE ARGUMENT .................................................................... 22

                                                          ii
            Case: 24-1537            Document: 15            Page: 4        Filed: 07/03/2024




II.   ARGUMENT ............................................................................................... 25

      A.      Legal Standards ................................................................................ 25

      B.      The District Court’s Construction of “Thermal Spacers
              Thermally Isolating” Is Correct ...................................................... 26

              1.       The district court’s construction stays true to the
                       plain language of the claim .................................................. 26

              2.       The district court’s construction is consistent with
                       the prosecution history.......................................................... 29

      C.      Van-Packer’s Arguments that “Thermal Spacers” Must Be
              Construed Differently than “Thermal Spacers Thermally
              Isolating” Fail .................................................................................... 32

              1.       The district court’s construction of “thermal spacers
                       thermally isolating” does not render “thermal
                       spacers” superfluous ............................................................. 34

              2.       The district court properly found that prosecution
                       disclaimer does not apply and its construction does
                       not reclaim claim scope disclaimed during
                       prosecution .............................................................................. 37

              3.       Intel Corporation v. Qualcom Inc. is inapposite to the
                       facts and circumstances of this case .................................... 39

      D.      Van-Packer Waived Its Proposed “Specific Thermal
              Property” Construction of “Thermal Spacers” ............................ 40

      E.      The district court did not alter its construction of “thermal
              spacers thermally isolating” when granting summary
              judgment of infringement ............................................................... 42

      F.      The Court Properly Found that Van-Packer’s Products
              Meet the “Thermal Spacers Thermally Isolating”
              Limitation .......................................................................................... 46

                                                      iii
               Case: 24-1537            Document: 15            Page: 5        Filed: 07/03/2024




                 1.       Van-Packer has waived any argument that its
                          thermal spacers do not meet the district court’s
                          construction of “thermal spacers thermally
                          isolating” ................................................................................. 46

                 2.       The district court properly rejected Van-Packer’s
                          argument that the perforations in its thermal spacers
                          are the separately claimed “voids” ..................................... 47

        G.       Reversal Is Not an Appropriate Appellate Remedy
                 Because the District Court Has Not Considered
                 Infringement under Van-Packer’s Proposed Construction ....... 56

CONCLUSION ...................................................................................................... 59




                                                         iv
              Case: 24-1537           Document: 15         Page: 6       Filed: 07/03/2024




                                  TABLE OF AUTHORITIES

                                                                                                   Page(s)

Cases

Amgen Inc. v. Hoechst Marion Roussel, Inc.,
  457 F.3d 1293 (Fed. Cir. 2006) ......................................................................... 25

Cardsoft (assignment for the Benefit of Creditors), LLC v. Verifone,
  Inc.,
  807 F.3d 1346 (Fed. Cir. 2015) ......................................................................... 26

Comput. Docking Station Corp. v. Dell, Inc.,
  519 F.3d 1366 (Fed. Cir. 2008) ......................................................................... 14

Edgewell Pers. Care Brands, LLC v. Munchkin, Inc.,
  998 F.3d 917 (Fed. Cir. 2021) ........................................................................... 59

Harris Corp. v. Ericsson Inc.,
  417 F.3d 1241 (Fed. Cir. 2005) ......................................................................... 41

Home Diagnostics, Inc. v. LifeScan, Inc.,
  381 F.3d 1352 (Fed. Cir. 2004) ......................................................................... 26

Intel Corp. v. Qualcomm Inc.,
   21 F.4th 801 (Fed. Cir. 2021) ......................................................................39, 40

Interactive Gift Exp., Inc. v. Compuserve Inc.,
   256 F.3d 1323 (Fed. Cir. 2001) .............................................................24, 41, 43

Key Pharms. v. Hercon Lab'ys Corp.,
  161 F.3d 709 (Fed. Cir. 1998) .....................................................................42, 43

In re Lemay,
   660 F. App’x 919 (Fed. Cir. 2016) .............................................................59, 60

Phillips v. AWH Corp.,
   415 F.3d 1303 (Fed. Cir. 2005) (en banc).................................................passim


                                                      v
               Case: 24-1537          Document: 15          Page: 7      Filed: 07/03/2024




Power Mosfet Techs. L.L.C. v. Siemens AG,
  378 F.3d 1396 (Fed. Cir. 2004) ......................................................................... 36

Renishaw PLC v. Marposs Socita per Azioni,
  158 F.3d 1243, 1250 (Fed. Cir. 1998) .......................................................2, 4, 27

Schindler Elevator Corp. v. Otis Elevator Co.,
   593 F.3d 1275 (Fed. Cir. 2010) .............................................................15, 16, 17

SimpleAir, Inc. v. Sony Ericsson Mobile Commc’ns AB,
   820 F.3d 419 (Fed. Cir. 2016) ........................................................................... 36

Teleflex, Inc. v. Ficosa N. Am. Corp.,
   299 F.3d 1313 (Fed. Cir. 2002) ......................................................................... 26

United Cannabis Corp. v. Pure Hemp Collective Inc.,
  66 F.4th 1362 (Fed. Cir. 2023) .......................................................................... 18

University of Massachusetts v. L’Oreal S.A.,
  36 F.4th 1374 (Fed. Cir. 2022) .......................................................................... 31

VLSI Tech. LLC v. Intel Corp.,
  53 F.4th 646 (Fed. Cir. 2022) ............................................................................ 37




                                                      vi
          Case: 24-1537    Document: 15     Page: 8   Filed: 07/03/2024




                   STATEMENT OF RELATED CASES

      A prior appeal from the proceeding below was previously before this

Court as DuraSystems Barriers, Inc. v. Van-Packer Co., Jeremias, Inc., No. 2023-

1888, but was voluntarily dismissed prior to any briefing.

      Counsel for Appellee is not aware of any other case in this or any other

court that will directly affect or be directly affected by this Court’s decision

in this appeal.




                                      vii
          Case: 24-1537    Document: 15    Page: 9   Filed: 07/03/2024




                             INTRODUCTION

      DuraSystems Barriers, Inc. is a world leader in passive fire protection

systems and an innovator in the field. Among DuraSystems’ innovations is

U.S. Patent No. 10,024,569 (the “’569 Patent”), which pertains to a modular

fire-rated exhaust duct system—for transporting flammable or hazardous

gases—that can be pre-fabricated and then assembled in the field.

DuraSystems sued Appellants Van-Packer Co. and Jeremias, Inc.

(hereinafter collectively “Van-Packer”) for infringement of the ’569 Patent,

and the district court granted DuraSystems summary judgment of patent

infringement. On appeal, Van-Packer raises a single challenge, contending

that the district court misconstrued the “thermal spacers” element in the

asserted claims. That challenge fails.

      Van-Packer principally contends that the district court rendered the

word “thermal” superfluous by not construing “thermal spacers” as a

separate and distinct element from the phrase “thermal spacers thermally

isolating.” However, the district court properly construed the claim

language according to the plain language of the claim, the specification, and

the prosecution history. The district court correctly construed “thermal



                                     -1-
          Case: 24-1537   Document: 15     Page: 10   Filed: 07/03/2024




spacers” together with “thermally isolating,” because the language “thermal

spacers thermally isolating” is—according to a plain reading of the claim—

defining a particular function of the “thermal spacers.” See Renishaw PLC v.

Marposs Socita per Azioni, 158 F.3d 1243, 1250 (Fed. Cir. 1998) (“[t]he

construction that stays true to the claim language and most naturally aligns

with the patent’s description of the invention will be, in the end, the correct

construction.”). And the prosecution history supports a plain language

reading of the claim. The applicant added the “thermal spacers thermally

isolating” language in response to a rejection for the specific purpose of

explicitly defining a characteristic of the “thermal spacers.” The district

court’s construction is correct, and Van-Packer’s often confusing arguments

cannot overcome that proper construction.

      Van-Packer also seemingly tries to collaterally attack the district

court’s determination that its products infringe the asserted claims of the

’569 Patent. But that effort fails. Before the district court, Van-Packer

conceded that its accused products satisfy the district court’s construction of

“thermal spacers thermally isolating.” Accordingly, it cannot un-ring that

bell on appeal, and its arguments are waived. In any event, Van-Packer’s



                                     -2-
           Case: 24-1537    Document: 15     Page: 11   Filed: 07/03/2024




arguments on the merits fare no better. The district court correctly concluded

that Van-Packer’s products have “thermal spacers” and infringe the asserted

claims of the ’569 Patent as a matter of law.

      The Court should affirm the judgment below.

                 COUNTERSTATEMENT OF THE ISSUES

      Whether the district court properly construed “thermal spacers

thermally isolating” consistent with the plain language of the claims, the

specification, and the prosecution history.

                  COUNTERSTATEMENT OF THE CASE

I.    BACKGROUND1

      A.    Technology of the ’569 Patent

      The ‘569 Patent pertains to fire-rated exhaust ducts and modules that

are connected to make an exhaust duct. Fire-rated exhaust ducts are used to

transport flammable or hazardous gases, vapors or particles in a building to

a treatment system or to exhaust them externally to the building. (Appx122,


      1 Van-Packer purports to reproduce the three independent claims of

the ’569 Patent at issue in this case, Claims 1, 10 and 16, at pages i – iii of its
opening brief. However, Claim 1 contains an error in that the phrase “said
first exterior flange connector,” is repeated in the third element. Claim 10
contains an error in that the phrase “and one of said exhaust duct module”
should read “and one end of said exhaust duct module.”

                                       -3-
          Case: 24-1537    Document: 15     Page: 12   Filed: 07/03/2024




1:13-19.) Ventilating such flammable exhaust often requires transporting the

exhaust across fire separators in a building. (Id. at 1:20-25.) Thus, to prevent

fires from traveling through the exhaust ducts across fire separators to

spread through a building quickly, ducts ventilating such flammable

exhaust must be fire rated. “To be classified as a fire-rated duct, an exhaust

duct must be capable of preventing the release of flammable materials from

inside the duct and/or combustible materials adjacent the exterior of the

exhaust duct from catching fire if a fire exists on the other side of the duct.

In other words, a fire-rated duct must be capable of minimizing the transfer

of heat through or across the duct walls.” (Id. at 1:30-36.)

      The ’569 Patent claims a particular fire-rated duct system that can be

pre-fabricated and then assembled in the field. (Appx122, 2:22-25.) Claim 1

is representative and discloses a “modular fire-rated exhaust duct assembly”

that comprises “two or more exhaust duct modules.” (Appx125, 8:47-49.)

Each of the exhaust duct modules has “an inner duct liner and an outer

casing, and a void being formed between at least a portion of space between

said inner duct liner and said outer casing.” (Appx125, 8:50-53.) The void is

“configured for receiving an insulation material, and including one or more



                                      -4-
          Case: 24-1537   Document: 15     Page: 13   Filed: 07/03/2024




thermal spacers configured to maintain said inner duct liner and said outer

casing in a spaced relationship so that said insulation material occupies said

void, said one or more thermal spacers thermally isolating said inner duct

liner from said outer casing.” (Appx125, 8:55-59.) The modules also have “a

first exterior flange connector” and “a second exterior flange connector,” and

“a said first and second exterior flange connectors being configured to form

a field assembly junction for coupling respective ends of said exhaust duct

modules to form a single exhaust duct run.” (Appx125-126, 8:60-9:6.) A “joint

encasement section” is “configured to be field connectable to each of said

exhaust duct modules and encase said junction.” (Appx126, 9:7-9.)

      The basic components of a single fire-rated exhaust duct module

relevant to the ’569 Patent and the present appeal are illustrated in Figures 4

and 5b of the ’569 Patent. (Appx116-117.) Figure 4 is a longitudinal cross

section of an exhaust duct module. (Appx123, 3:41-42.) The following

reproduction of Figure 4 is taken from Van-Packer’s brief, in which Van-

Packer has colored the inner exhaust liner 210 red, the outer casing panels

310a and 310c blue, the thermal spacer 422 green, and the insulation material

410 yellow. (Defendants-Appellants Van-Packer Co. and Jereemias Inc’s



                                     -5-
          Case: 24-1537   Document: 15     Page: 14   Filed: 07/03/2024




Opening Brief (“Bf.”) 18.) The yellow insulation material 410 fills the voids

402 that the thermal spacers (green) create between the inner metallic liner

(red) and outer casing (blue). (Appx123, 5:30-38.) A similarly-colored version

of Figure 5c is also provided.




                                     -6-
         Case: 24-1537    Document: 15    Page: 15   Filed: 07/03/2024




     As seen in these figures, the green thermal spacers are positioned “for

supporting the outer casing panels 310 and maintaining the gap or void so

that the insulating material 410 is not unnecessarily compressed or crushed.”

(Appx124-125, 6:61-7:2.) Avoiding compressing or crushing the insulation

material is important because the insulation properties of the insulation can

be compromised if the insulation is compressed or crushed. (See Appx1899,

106:20–109:14.)

     However, as explained by Mr. Cheek, Van-Packer’s expert, two

surfaces mechanically joined together (such as by a spacer) may “provide a

thermal bridge through which heat will travel” from one surface to the other.

(Appx604, ¶ 86.) Thus, the spacers used to maintain a space between the



                                    -7-
           Case: 24-1537   Document: 15    Page: 16   Filed: 07/03/2024




outer casing and the inner liner in the ’569 Patent must be “thermal spacers”

so that the spacers do not create a thermal bridge allowing heat to travel

from one surface to the other such that the exhaust duct no longer prevents

the spread of a fire across the walls of the duct. (See Appx122, 1:30-36.) The

independent claims of the ’569 Patent expressly incorporate this concept by

requiring “said one or more thermal spacers thermally isolating said inner

duct liner from said outer casing.” This is the claim language at issue in this

appeal.

      B.    Relevant Prosecution History of the ’569 Patent

      The claim term “thermal spacer” drew the Examiner’s attention during

prosecution of the ’569 Patent. The Examiner cited prior art Callan (U.S.

Patent No. 2,916,054) as teaching an exhaust duct module having “one or

more thermal spacers (item 25, figure 3 [of Callan]) configured to maintain

said inner flange and said outer casing in a spaced relationship so that said

insulation material occupies said void.” (Appx367-368.) Figure 3 of Callan is

reproduced here (Appx1219):




                                     -8-
         Case: 24-1537    Document: 15    Page: 17   Filed: 07/03/2024




     The applicant responded to that rejection by arguing “that the

‘sidewalls’ 25 according to Callan do not comprise thermal spacers as being

alleged and furthermore there is no description, teaching or suggestion by

Callan that the sidewalls 25 are intended to maintain an inner duct in a

spaced relationship from an outer casing, as recited in claim 1.” (Appx405.)

     The Examiner rejected the applicant’s argument and maintained the

rejection based on Callan. The Examiner interpreted “thermal spacers” in a

manner that did not require any thermal performance by the spacers, stating,

“Examiner would like to remind the applicant that the claim recites ‘one or

more thermal spacers configured to maintain said inner duct liner and said


                                    -9-
          Case: 24-1537   Document: 15       Page: 18   Filed: 07/03/2024




outer casing in a spaced relationship’. Thus the spacers are only there to keep

duct components in a spaced relationship without requiring any specific

thermal properties.” (Appx422, ¶ 7 (emphasis added).)

      In response, the applicant explained to the Examiner that the term

“thermal” as used in the ’569 Patent and its claims refers to a particular

characteristic or function, i.e., “thermally isolating”: “The term ‘thermal’ in

the context of the subject application means and refers to ’specific thermal

properties’, namely, thermally isolating.” (Appx438-439.) The applicant

pointed to particular support for this reading in the specification: “For

instance, the ‘thermal gasket’ is described in Paragraph [00041] as follows,

‘According to another aspect, a thermal gasket indicated by reference 724 in

Fig. 9 can be included to thermally isolate the joint encasement sections 720

from the outer casing panel 310.’” (Id. (emphasis by applicant)). And the

applicant explained that “[t]he thermal isolation function of the thermal

spacers and the thermal gasket is entirely consistent with one of the

problems addressed by the embodiments according to the present disclosure

as described in Paragraph [0006]:




                                    - 10 -
           Case: 24-1537    Document: 15       Page: 19   Filed: 07/03/2024




             “In a commercial kitchen, the exhaust hoods are
             configured to capture grease laden air over deep fryers and
             grills, which is extremely flammable, and must be
             transported through the building to an exterior area where
             it can be safely discharged. Due to the flammable nature of
             the exhausted vapour, a minor fire, for example, in the
             kitchen could enter the exhaust duct and quickly spread
             throughout the duct system. As a result, any potential fire
             inside the duct system must be contained and thermal
             transfer through the duct walls limited to prevent ignition
             of adjacent combustible material in the kitchen or other
             areas of the building…”

        According to one aspect, the arrangement of the inner duct liner,
        the outer casing, the insulation material in the void and the
        thermal spacers is configured to prevent the thermal transfer of
        heat, e.g. due to grease fire, from the inner duct to the outer
        casing.

(Id.)

        Although the applicant explained that “thermal” in the context of the

’569 Patent refers to “thermally isolating,” to avoid further Examiner

argument and rejections about whether “thermal spacers” alone

incorporated a “thermally isolating” function, the applicant expressly

incorporated that concept into the claims by adding the language “said one

or more thermal spacers thermally isolating said inner duct liner from said

outer casing” into the independent claims. (Appx432, 434, 436.)




                                      - 11 -
          Case: 24-1537   Document: 15       Page: 20   Filed: 07/03/2024




     C.    Van-Packer’s Claim Construction Arguments Below

     DuraSystems sued Van-Packer for selling exhaust duct products that

infringe the ’569 Patent. During claim construction, Van-Packer focused on

the term “thermal spacers” in the asserted claims, arguing that the phrase

“thermal spacers thermally isolating” should be broken up such that

“thermal spacers” and “thermally isolating” are construed to be separate

requirements. (Appx555, n.5.) Van-Packer argued that “thermal spacers”

should be construed to require “a spacer having a specific thermal isolation

property” where a “spacer” is “something that maintains two components

in a spaced relationship.” (Appx555 (emphasis added).) Van-Packer argued

that “a thermal isolation property of a spacer is an inherent property of the

component, e.g., its thermal conductivity” (Appx556 (emphasis added)), or

“a material trait” that is “independent of material shape and size” (Appx1976-

1977 (emphasis in original)). Van-Packer provided “a simple example,”

explaining that “calcium silicate insulation board, which can be used as the

claimed thermal spacer, has a thermal conductivity rating of approximately

0.175 W/m.K, while spacers made from stainless steel or carbon steel would

have thermal conductivity ratings of 15 W/m.K and 45 W/m.K



                                    - 12 -
          Case: 24-1537    Document: 15       Page: 21   Filed: 07/03/2024




respectively.” (Appx556-557.) Thus, Van-Packer urged the district court to

limit the meaning of “thermal spacer” to a spacer having “a specific thermal

isolation property,” i.e., a spacer made from a material having a material

trait that thermally isolates regardless of its shape or configuration.

      Van-Packer then argued that the lower court should separately

construe “thermally isolating” to mean “preventing the thermal transfer of

heat.” (Appx560.) Van-Packer contended that under this construction a

thermal spacer would satisfy the “thermally isolating” element only if it “cut

off the thermal transfer of heat from the inner duct liner to the outer casing”

(Appx560-561), despite the experts of both parties agreeing that it is

physically impossible to do so (Appx1802 (citing Appx1903, 124:2-4 (Van-

Packer’s expert testifying, “Q. But preventing the thermal transfer of heat

period is a physical impossibility, correct? A. Correct.”)), Appx1836, ¶ 49

(DuraSystems’ expert stating, “[I]t is not possible for any material to

‘prevent’ the transfer of heat which is a basic principle of thermal dynamics

that a PHOSITA would know and understand.”)).




                                     - 13 -
          Case: 24-1537   Document: 15       Page: 22   Filed: 07/03/2024




     D.    The District Court’s Construction

     The district court conducted a thorough analysis of the terms “thermal

spacers” and “thermally isolating” separately, incorporating a detailed

review of the prosecution history and the teachings of the specification in

doing so. (Appx17-33.) As discussed in detail below, after analyzing the

terms separately, the district court provided a single construction for the

phrase “thermal spacers thermally isolating.” (Appx32-33.)

           1.    The district court analyzed “thermal spacers” to require
                 the spacers to themselves thermally isolate, but need not
                 do so via a particular thermal material property

     The district court determined that it needed to address two issues

when construing “thermal spacers.” First, it needed to determine whether

the “thermal spacers” themselves need to “thermally isolate” (as opposed to

the configuration of the module as a whole performing the thermal isolation

function). (Appx22.) On this issue, the district court found that “by

amending the draft independent claims to include the limitation ‘thermally

isolating’ in an attempt to overcome Callan … [the applicant] restricted the

meaning of ‘thermal spacers’ to spacers that thermally isolate the inner duct

liner from the outer casing.” (Appx22 (“Comput. Docking Station Corp. v. Dell,

Inc., 519 F.3d 1366, 1374 (Fed. Cir. 2008) (‘A patentee could [limit the

                                    - 14 -
          Case: 24-1537    Document: 15       Page: 23   Filed: 07/03/2024




meaning of a claim term] by clearly characterizing the invention in a way to

try to overcome rejections based on prior art.’ (citations omitted)); Schindler

Elevator Corp. v. Otis Elevator Co., 593 F.3d 1275, 1285 (Fed. Cir. 2010) (‘[A]n

amendment that clearly narrows the scope of a claim, such as by the addition

of a new claim limitation, constitutes a disclaimer of any claim interpretation

that would effectively eliminate the limitation or that would otherwise

recapture the claim’s original scope.’”)).

      Second, the district court addressed whether “thermal spacers”

require “a specific thermal isolation property” as argued by Van-Packer.

(Appx23.) Quoting Van-Packer, the district court noted that “‘a property is

a material trait,’ and material traits ‘are ones such as thermal conductivity,

thermal capacity, etc. that result in ‘thermal isolation.’” (Appx26 (emphasis

by the court, citations omitted).) There is no mention of any “thermal

isolation property” (i.e., a material trait such as thermal conductivity,

thermal capacity, etc.) in the claims, specification, or prosecution history.

After a thorough analysis, the district court determined that “thermal

spacers” need not have “a specific thermal isolation property.” (Appx26.) To

arrive at this conclusion, the district court noted that the claims “make no



                                     - 15 -
         Case: 24-1537    Document: 15      Page: 24   Filed: 07/03/2024




mention of thermal isolation properties, let alone any particular one.” (Id.)

Considering the prosecution history, the district court determined that the

applicant “never limited thermal spacers to one thermal property.” (Id.) It

found that the applicant’s statement concerning “specific thermal

properties” when responding to the Examiner’s argument during

prosecution did not constitute a disclaimer of spacers that do not have a

“specific thermal isolation property,” as Van-Packer argued. (Appx25-26.)

Consequently, the district court found that the applicant’s statement during

prosecution referencing “specific thermal properties” was not a disclaimer

of claim scope, and that “thermal spacers” was not restricted to spacers made

from materials having material traits with “specific thermal isolation

properties.” (Appx26.)

           2.    The district court found “thermally isolating” to mean
                 limiting heat transfer, rather than preventing it entirely

     The district court next addressed the proper meaning of “thermally

isolating” and whether that term means to limit the transfer of heat

(DuraSystems’ argument) or to prevent the transfer of heat entirely (Van-

Packer’s argument). (Appx27-32.) In analyzing this term, the district court

addressed the language of the claims and specification, prosecution history,


                                   - 16 -
          Case: 24-1537    Document: 15       Page: 25   Filed: 07/03/2024




dictionary definitions, and testimony of expert witnesses. (Id.) It found that

the applicant’s statement during prosecution that, “the arrangement of the

inner duct liner, the outer casing, the insulation material in the void and the

thermal spacers is configured to prevent the thermal transfer of heat … from

the inner duct to the outer casing” (Appx29 (quoting the prosecution

history)), “when read in the context of the ’569 Patent, [] demonstrates

‘isolating’ is best understood as ‘limiting’” (Appx30). The district court,

considering both the intrinsic and extrinsic evidence, reasoned that “the

definition of ‘isolating’ must take a middle ground between ‘preventing’

(i.e., ‘effectively stopping’) the thermal transfer of heat and doing nothing,”

and concluded that the word “limiting,” which “is broader than

‘preventing,’” “fits the bill.” (Appx29-30.)

      Lastly, having decided to construe “isolating” as “limiting,” the

district court addressed the issue of whether DuraSystems’ proposed

language “limit[ing] the amount of heat conducted through the components

so that they do not create fail points on the inner duct liner or outer casing

during fire rating testing” should also be adopted. (Appx31.) Whereas Van-

Packer’s arguments opposing this language were framed as merely an



                                     - 17 -
          Case: 24-1537   Document: 15       Page: 26   Filed: 07/03/2024




indefiniteness argument, the district court adopted that language and

deferred addressing Van-Packer’s indefiniteness defense until summary

judgment. (Appx31-32.)2

            3.    The district court construed the phrase “thermal spacers
                  thermally isolating”

      After separately analyzing “thermal spacers” and “thermally

isolating,” the district court addressed whether those terms should be

construed separately or together. (Appx32.) The district court construed the

terms together because “they largely appear together in the Independent

Claims, their separate constructions are primarily based on the same aspects

of the ’569 Patent’s prosecution, and each construction influences the other.”



      2 Van-Packer raised an “as-applied” indefiniteness argument against

DuraSystems’ proposed construction of “thermal spacers thermally
isolating,” which construction the district court largely adopted. (Appx32.)
Van-Packer’s “as-applied” indefiniteness argument was considered and
rejected by the district court at summary judgment. (Appx78-79.) Van-
Packer does not challenge the district court’s indefiniteness ruling and has
waived this argument on appeal by choosing to omit the as-applied
indefiniteness of “thermal spacers thermally isolating” in their opening
brief. United Cannabis Corp. v. Pure Hemp Collective Inc., 66 F.4th 1362, 1367
n.1 (Fed. Cir. 2023) (holding arguments advocated at the district court but
not raised in the opening brief on appeal are waived (citing Becton Dickinson
& Co. v. C.R. Bard, Inc., 922 F.2d 792, 800 (Fed. Cir. 1990)).



                                    - 18 -
          Case: 24-1537   Document: 15       Page: 27   Filed: 07/03/2024




(Appx33.) Thus, the district court construed “thermal spacers thermally

isolating” to mean “components that maintain a space between the inner

duct liner and outer casing that limit the amount of heat conducted through

the components so that they do not create fail points on the inner duct liner

or outer casing during fire rating.” (Appx33.)

     E.    Van-Packer’s Infringing Products

     Van-Packer’s products were found to infringe on summary judgment.

(Appx69.) The only element Van-Packer disputed as lacking from the

accused products was the “thermal spacers thermally isolating” claim

element. (Appx66.)

     The basic construction of Van-Packer’s accused products is shown in

this annotated photograph:




                                    - 19 -
         Case: 24-1537   Document: 15       Page: 28   Filed: 07/03/2024




(Appx2166.) Van-Packer’s accused products are a commercial embodiment

of Van-Packer’s U.S. Patent Application 16/362,991 (the “’991 Application”).

(Appx2305-2325.) Figure 1 the ’991 Application, reproduced below with

coloring, shows the same thermal spacer as its commercial embodiment:




                                   - 20 -
         Case: 24-1537   Document: 15       Page: 29   Filed: 07/03/2024




(Appx2167, 2306.) The ’991 Application explains the thermal characteristics

and function of the thermal spacers 106 as follows:

     …The spacer 106 also includes one or more perforations 130. The
     perforations are voids and/or openings within the planar body
     of the spacer. The perforations may be one of many shapes,
     including, but not limited to ovals, circles[, sic] squares,
     rectangles, pentagons, and/or hexagons.

     As shown in FIG. 4, the perforations 130 create vertical metal
     strips 132 between the perforations 130. The metal strips 132
     traverse between the two edges of the spacer. In an example, one
     perforation is between two metal strips. The metal strips 130 act
     as a heat sink by reducing the amount of heat transferred
     between the inner liner 102 and the out [sic, outer] shell 104.




                                   - 21 -
          Case: 24-1537   Document: 15       Page: 30   Filed: 07/03/2024




(Appx2324, Appx2167-2168 (emphasis added).) The thermal spacers of the

accused products perform as described in the ’991 Application, and Van-

Packer produced no evidence that the thermal spacers conduct sufficient

heat between the inner duct liner and outer casing such that they create fail

points during fire rating testing. (See, e.g., Appx69, Appx2324, Appx2167-

2168, Appx2118-2119.) The district court granted summary judgment to

DuraSystems.

                    SUMMARY OF THE ARGUMENT

      The district court properly construed “thermal spacers” and “thermal

spacer thermally isolating.” The district court construed these terms

according to the plain language of the claims themselves. The claims

explicitly define two particular characteristics or functions of the “thermal

spacers”—a spacing function and a thermal function. And that thermal

function is specifically defined in the claims as “thermally isolating said

inner duct liner from said outer casing.” The district court correctly defined

“thermal spacers” as having both the spacing and thermal functions

explicitly stated in the claims. That construction is further supported by the

specification. Moreover, the district court’s construction is consistent with



                                    - 22 -
         Case: 24-1537    Document: 15       Page: 31   Filed: 07/03/2024




the prosecution history. The Examiner had construed “thermal spacers” as

having only a spacing function, but the applicant explained that they also

have a “thermal” function—namely, thermally isolating. To make that

meaning clear, the applicant added the language “said one or more thermal

spacers thermally isolating said inner duct liner from said outer casing.”

With that clarifying amendment, the Examiner allowed the claims.

     Van-Packer throws several challenges at the district court’s

construction, but none of them stick. Contrary to Van-Packer’s argument,

the district court’s construction does not render “thermal” in “thermal

spacers” superfluous. Van-Packer’s contention simply ignores the plain

language of the claims and the prosecution history, which makes clear that

the “thermally isolating” clause defines a function of the “thermal spacers.”

They are not distinct claim elements, but rather are inextricably connected.

Thus, the district court’s construction giving meaning to “thermal spacers

thermally isolating” gives meaning to “thermal spacers.”

     Van-Packer’s prosecution-disclaimer argument similarly fails. Van-

Packer’s argument is based primarily on a misrepresentation of the record.

Van-Packer truncates the applicant’s statement during prosecution to



                                    - 23 -
          Case: 24-1537   Document: 15       Page: 32   Filed: 07/03/2024




suggest that the applicant disclaimed thermal spacers that did not have

specific thermal properties. But applicant’s full statement is clear and

consistent with the district court’s construction: “The term ‘thermal’ in the

context of the subject application means and refers to ‘specific thermal

properties’, namely, thermally isolating.” (Appx438.)

      In any event, the construction that Van-Packer urges on appeal is not

properly before the Court because it is not the construction Van-Packer

proposed to the district court. Van-Packer has waived its new claim

construction because it would change the scope of the claim construction it

proposed below. Interactive Gift Exp., Inc. v. Compuserve Inc., 256 F.3d 1323,

1346 (Fed. Cir. 2001).

      Van-Packer lodges a few additional collateral attacks on the district

court’s judgment of infringement. It contends that the district court altered

its claim construction in ruling on summary judgment. Not so. Van-Packer’s

argument is premised entirely on an unfair reading of the district court’s

decision and a hope of obfuscating the issues.

      Van-Packer also tries to collaterally attack the district court’s

determination that its products infringed the asserted claims of the ’569



                                    - 24 -
           Case: 24-1537   Document: 15      Page: 33   Filed: 07/03/2024




Patent. First, Van-Packer conceded below that its products satisfy the district

court’s construction of “thermal spacers thermally isolating.” Accordingly,

Van-Packer has waived its arguments on appeal that the products do not

satisfy this element under the district court’s construction. Second, and in

any event, the district court considered the arguments that Van-Packer

marshals before this Court and appropriately rejected them.

      Thus, the Court should affirm the district court’s grant of summary

judgment to DuraSystems.

II.   ARGUMENT

      A.    Legal Standards

      Claim construction “must begin with the words of the claims

themselves.” Amgen Inc. v. Hoechst Marion Roussel, Inc., 457 F.3d 1293, 1301

(Fed. Cir. 2006). And “words of a claim are generally given their ordinary

and customary meaning,” i.e., “the meaning that the term would have to a

person of ordinary skill in the art in question at the time of the invention.”

Phillips v. AWH Corp., 415 F.3d 1303, 1312–13 (Fed. Cir. 2005) (en banc)

(internal quotation marks and citation omitted). “The words used in the

claims are interpreted in light of the intrinsic evidence of record, including

the written description, the drawings, and the prosecution history.” Teleflex,

                                    - 25 -
           Case: 24-1537   Document: 15       Page: 34   Filed: 07/03/2024




Inc. v. Ficosa N. Am. Corp., 299 F.3d 1313, 1324 (Fed. Cir. 2002). Courts may

also look to the prosecution history to supply additional evidence of a claim

term’s intended meaning. Home Diagnostics, Inc. v. LifeScan, Inc., 381 F.3d

1352, 1356 (Fed. Cir. 2004).

      This Court reviews a “district court’s ultimate interpretation of patent

claims de novo.” Cardsoft (assignment for the Benefit of Creditors), LLC v.

Verifone, Inc., 807 F.3d 1346, 1349–50 (Fed. Cir. 2015). When a district court

reviews only the intrinsic evidence (the claims, specification, and

prosecution history), the issue is one solely of law, and this Court reviews

the construction de novo. Id. If the “district court resolves factual disputes

over evidence extrinsic to the patent, [this Court] ‘review[s] for clear error

those factual findings that underlie a district court’s claim construction.’” Id.

(quoting Teva Pharma. USA, Inc. v. Sandoz, Inc., 574 U.S. 318, 333 (2015)).

      B.    The District Court’s Construction of “Thermal Spacers
            Thermally Isolating” Is Correct

            1.    The district court’s construction stays true to the plain
                  language of the claim

      The district court properly construed the term “thermal spacers.”

Although the claim construction process considers a number of facets, the

language of the claims is paramount, and “[t]he construction that stays true

                                     - 26 -
          Case: 24-1537    Document: 15       Page: 35   Filed: 07/03/2024




to the claim language and most naturally aligns with the patent’s description

of the invention will be, in the end, the correct construction.” Renishaw, 158

F.3d at 1250. The plain language of the claims in the ’569 Patent makes clear

that the “thermal spacers” have a “spacing” function and a “thermal”

function, and expressly states each of those functions in the claims

themselves:

            including one or more thermal spacers configured to
            maintain said inner duct liner and said outer casing in a
            spaced relationship so that the said insulation material
            occupies said void, said one or more thermal spacers
            thermally isolating said inner duct liner from said outer
            casing

(See, e.g., Appx125, Claim 1 (emphases added).) As seen above, the plain

language of the claims contains two phrases that further define “thermal

spacers.” The first phrase is directed to further defining the spacing function

of the “thermal spacers” as being “configured to maintain said inner duct

liner and said outer casing in a spaced relationship so that the said insulation

material occupies said void.”3 The second phrase similarly further defines

the “thermal spacers” by specifying the “thermal” function as “thermally


      3 Notably, Van-Packer does not argue that this phrase explaining the

spacing function of the “thermal spacers” renders “spacers” superfluous.

                                     - 27 -
          Case: 24-1537   Document: 15       Page: 36   Filed: 07/03/2024




isolating said inner duct liner from said outer casing.” The introductory

phrase “said one or more thermal spacers thermally isolating said inner duct

liner from said outer casing” makes clear that the phrase “thermally isolating

said inner duct liner from said outer casing” is merely defining the thermal

function of the “thermal spacers,” as opposed to introducing a new and

separate claim element.

     The district court stayed true to the claim language and properly

incorporated each of the “spacing” and “thermal” functions of the thermal

spacers when it construed “thermal spacers thermally isolating” to mean

“components that maintain a space between the inner duct liner and outer

casing [i.e., the “spacing” function] that limit the amount of heat conducted

through the components so that they do not create fail points on the inner

duct liner or outer casing during fire rating [i.e., the “thermal” function].”

(Appx33.) Thus, the district court’s construction of “thermal spacers

thermally isolating” properly captures both the “spacing” and “thermal”

functions of the “thermal spacers” as recited in the claim language.

     The specification further supports the conclusion that “thermally

isolating” defines a function of the “thermal spacers.” Phillips, 415 F.3d at



                                    - 28 -
           Case: 24-1537    Document: 15      Page: 37   Filed: 07/03/2024




1315 (“the specification ‘is always highly relevant to the claim construction

analysis.’” (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582

(Fed. Cir. 1996)). In addressing other elements of the invention, the

specification explains that “a thermal gasket … can be included to thermally

isolate the joint encasement sections from the outer casing panel.” (Appx125,

7:48–50 (emphasis added).) Thus, the specification specifically equates

“thermal” with “thermally isolating.” This is consistent with the plain

language of the claims which defines one function of the “thermal spacers”

as “thermally isolating.”

     The district court’s construction of “thermal spacers” is thus consistent

with the plain language of the claims, as well as the specification, and is

correct.

            2.    The district court’s construction is consistent with the
                  prosecution history

      The district court’s construction is also supported by the prosecution

history. During prosecution of the ’569 Patent, the applicant argued that the

Callan reference did not disclose or render obvious the “thermal spacers”

element in the proposed claims. (Appx405.) The Examiner disagreed with

that argument, stating that the claimed “thermal spacers configured to


                                     - 29 -
         Case: 24-1537    Document: 15      Page: 38   Filed: 07/03/2024




maintain said inner duct liner and said outer casing in a spaced

relationship … are only there to keep duct components in a spaced

relationship without requiring any specific thermal properties.” (Appx422

(emphasis added).) Thus, the Examiner interpreted the term “thermal

spacers” standing alone as having only a spacing function, and not requiring

the spacers to have any specific thermal properties, characteristics or

functions. In response, the applicant explained that “thermal” in the context

of the ’569 Patent refers to “thermally isolating,” but to avoid further

Examiner argument and rejections about whether the term “thermal

spacers” alone requires a “thermally isolating” function, the applicant

expressly incorporated that function into the claims by adding the language

“said thermal spacers thermally isolating said inner duct liner from said

outer casing.” (Appx 432, Appx434, Appx436, Appx440.)

     Thus, the purpose of the added claim language—the very language at

issue here—was to expressly state the “thermally isolating” nature or

function of the antecedent “thermal spacers” to which the Examiner

previously ascribed no thermal nature, characteristic or function. Adding

language to clarify that the thermal aspect of the “thermal spacers” was to



                                   - 30 -
          Case: 24-1537    Document: 15        Page: 39   Filed: 07/03/2024




“thermally isolat[e] said inner duct liner from said outer casing”

distinguished the claimed “thermal spacers” from the Examiner’s argued

“thermal spacers” that do not thermally isolate in Callan. The Examiner

allowed the claims based on this clarifying amendment. (Appx452 (“The

following is an examiner’s statement of reasons for allowance: the primary

reason for allowance is the inclusion of limitations ‘said one or more thermal

spacers thermally isolating said inner duct liner from said outer casing’ in

claims 1, 10 and 16.”).) See University of Massachusetts v. L’Oreal S.A., 36 F.4th

1374, 1379, 1382-83 (Fed. Cir. 2022) (explaining that prosecution history

“‘may be critical in interpreting disputed claim terms’” and holding that

prosecution history compelled interpretation).

      In view of the foregoing, the prosecution history makes clear that the

phrase “said thermal spacers thermally isolating said inner duct liner from

said outer casing” was added to the claims to clarify the “thermal” aspect or

function of the antecedent “thermal spacers.” Thus, it was consistent with

the prosecution history and proper for the district court to construe the entire

phrase “thermal spacers thermally isolating” instead of construing “thermal

spacers” and “thermally isolating” separately because, as the district court



                                      - 31 -
          Case: 24-1537   Document: 15      Page: 40   Filed: 07/03/2024




found, “they largely appear together in the Independent Claims, their

separate constructions are primarily based on the same aspects of the ’569

Patent’s prosecution, and each construction influences the other.” (Appx33.)

Moreover, because the “thermally isolating” language was added

specifically to address the Examiner’s position that the “thermal spacers”

element alone does not require “any specific thermal properties,” the

prosecution history supports construing the “thermally isolating” language

as providing meaning to “thermal” in the term “thermal spacers.” See

Phillips, 415 F.3d at 1318 (explaining that “prosecution history can often

inform the meaning of the claim language by demonstrating how the

inventor understood the invention.”).

     C.    Van-Packer’s Arguments that “Thermal Spacers” Must Be
           Construed Differently than “Thermal Spacer Thermally
           Isolating” Fail

     Van-Packer argues that the language in the district court’s construction

about limiting the amount of heat conducted—“limit the amount of heat

conducted through the components so that they do not create fail points on

the inner duct liner or outer casing during fire rating”—“relates to the

‘thermally isolating’ term, [and] there is nothing in that construction that



                                   - 32 -
          Case: 24-1537    Document: 15       Page: 41   Filed: 07/03/2024




accounts for the separate ‘thermal’ term modifying spacers[.]” (Bf. 12.)

Indeed, Van-Packer contends that the district court should have given very

different meanings to “thermal” and “thermally” when construing the

phrase “thermal spacers thermally isolating.” Two issues emerge from this

argument.

      The first issue is whether the district court’s interpretation of

“thermally isolating” is correct. Van-Packer does not dispute on appeal that

the district court properly construed “thermally isolating” to mean “limit the

amount of heat conducted through the components so that they do not create

fail points on the inner duct liner or outer casing during fire rating.” (See Bf.

9–11.) Thus, this portion of the district court’s construction is not before this

Court for review.

      The second issue, which is before this Court, is whether the district

court erred by not treating “thermal spacers” and “thermally isolating” as

two separate and distinct claim elements, each requiring its own

construction. (See Bf. 8.) Van-Packer’s arguments that “thermal spacers” and

“thermally isolating” are two separate and distinct elements are unavailing

for the reasons discussed below.



                                     - 33 -
          Case: 24-1537   Document: 15       Page: 42   Filed: 07/03/2024




           1.    The district court’s construction of “thermal spacers
                 thermally isolating” does not render “thermal spacers”
                 superfluous

     Van-Packer’s primary argument is that the district court’s construction

of “thermal spacers thermally isolating” renders the term “thermal” in

“thermal spacers” superfluous. (Bf. 9.) This argument fails for two reasons.

     First, this argument improperly presumes that “thermal spacers” and

“thermal spacers thermally isolating” are two separate and distinct claim

elements. As established above, the language of the claim and the

prosecution history each makes clear that the “thermally isolating” language

is not a separate claim element divorced from the “thermal spacers,” but

rather is claim language defining that the “thermal” function of the “said one

or more thermal spacers” is “thermally isolating.” In other words, the

“thermal spacers” and “thermal spacers thermally isolating” are not distinct

claim elements, but rather are inextricably connected and, consequently, the

construction giving meaning to “thermal spacers thermally isolating”

limitation also gives meaning to “thermal spacers” and does not render the

“thermal spacers” superfluous.




                                    - 34 -
          Case: 24-1537   Document: 15       Page: 43   Filed: 07/03/2024




      As presented above, this conclusion flows from the prosecution

history and the claim amendment adding the “said one or more thermal

spacers thermally isolating” language. The Examiner interpreted “thermal

spacers” as “… only there to keep duct components in a spaced relationship

without requiring any specific thermal properties.” (Appx422, para. 7

(emphasis added).) In response, the applicant added the “thermal spacers

thermally isolating” language to explicitly define the “thermal” function of

the “thermal spacers.” See Phillips, 415 F.3d at 1318. Consequently, the

district court’s construction requiring the “thermal spacers thermally

isolating” to “limit the amount of heat conducted through the components

so that they do not create fail points on the inner duct liner or outer casing

during fire rating” cannot render the claim term “thermal spacers”

superfluous because the Examiner found that “thermal spacers” standing

alone required no “specific thermal properties.”

      Second, even if this Court were to find that the district court’s

construction renders “thermal spacers” redundant or superfluous—which it

does not—that construction would still not be improper. Van-Packer is

correct that a construction that renders a claim limitation redundant or



                                    - 35 -
          Case: 24-1537    Document: 15       Page: 44   Filed: 07/03/2024




superfluous “is disfavored.” (Bf. 9 (citing Intel Corp. v. Qualcomm Inc., 21

F.4th 801, 810 (Fed. Cir. 2021); Wasica Fin. GmbH v. Cont’l Auto. Sys., Inc., 853

F.3d 1272, 1288 n.10 (Fed. Cir. 2017)). However, “[t]he preference for giving

meaning to all terms … is not an inflexible rule that supersedes all other

principles of claim construction.” SimpleAir, Inc. v. Sony Ericsson Mobile

Commc’ns AB, 820 F.3d 419, 429 (Fed. Cir. 2016) (citing Power Mosfet Techs.

L.L.C. v. Siemens AG, 378 F.3d 1396, 1410 (Fed. Cir. 2004). “Furthermore,

while interpretations that render some portion of the claim language

superfluous are disfavored, where neither the plain meaning nor the patent

itself commands a difference in scope between two terms, they may be

construed identically.” Power Mosfet Techs., 378 F.3d at 1410 (citing Pickholtz

v. Rainbow Techs., Inc., 284 F.3d 1365, 1373 (Fed. Cir. 2002)). To the extent the

district court’s construction of “thermal spacers thermally isolating” could

be interpreted to render “thermal spacers” superfluous, the foregoing

prosecution history establishes that any such redundancy in those claim

terms is proper. That redundancy in claim construction is not foreclosed “is

particularly true where, as in this case, intrinsic evidence makes clear that




                                     - 36 -
          Case: 24-1537      Document: 15      Page: 45   Filed: 07/03/2024




the ‘redundant’ construction is correct.” VLSI Tech. LLC v. Intel Corp., 53 F.4th

646, 653 (Fed. Cir. 2022).

            2.    The district court properly found that prosecution
                  disclaimer does not apply and its construction does not
                  reclaim claim scope disclaimed during prosecution

      Van-Packer argues that the applicant’s statement, “[t]he term ‘thermal’

in the context of the subject application means and refers to ‘specific thermal

properties’” constitutes a disclaimer of claim scope. (Bf. 14 (quoting

Appx438).) Van-Packer further argues that the district court’s construction

“improperly allowed DuraSystems to reclaim that scope.” (Id.) Van-Packer’s

prosecution disclaimer and recapture arguments fail for two reasons.

      First, Van-Packer’s argument of prosecution history disclaimer is

based on a misrepresentation of the record. Van-Packer truncates the

applicant’s statement during prosecution to misrepresent that the applicant

disclaimed thermal spacers that lack “specific thermal properties.” (Bf. 13 -

14.) The applicant’s full statement during prosecution was, “The term

‘thermal’ in the context of the subject application means and refers to

‘specific thermal properties’, namely, thermally isolating.” (Appx438.)

Thus, at most the applicant disclaimed thermal spacers that lack the function



                                      - 37 -
          Case: 24-1537   Document: 15       Page: 46    Filed: 07/03/2024




“thermally isolating,” not thermal spacers that lack “specific thermal

properties” (i.e., spacers without specific material traits) as Van-Packer

misrepresents.

      Moreover, the applicant placed the phrase “specific thermal

properties” in quotation marks to signal that it was merely a reference to the

Examiner’s argument to which the applicant was responding. (Appx438.)

More importantly, to avoid any doubt concerning the meaning of “thermal”

as used in “thermal spacers,” the applicant explained that the term

“thermal” in the subject application means and refers to “thermally

isolating.” (Appx438-439.) Thus, to the extent the applicant disclaimed

anything, it disclaimed only thermal spacers that do not “thermally isolate.”

      Further still, the applicant amended all the independent claims to

include the claim element “said one or more thermal spacers thermally

isolating….”     (Appx432,   Appx434,        Appx436.)     The    district   court’s

construction of “thermal spacers thermally isolating” properly includes the

“thermally isolating” function because it requires “components … that limit

the amount of heat conducted through the components….” (Appx33.) Also

as noted above, Van-Packer does not dispute that this part of the district



                                    - 38 -
          Case: 24-1537     Document: 15       Page: 47   Filed: 07/03/2024




court’s construction gives proper meaning to “thermally isolating.” Thus,

Van-Packer’s argument that the district court’s construction “reclaims”

claim scope disclaimed during prosecution is baseless.

            3.     Intel Corporation v. Qualcomm Inc. is inapposite to the
                   facts and circumstances of this case

      In support of its argument that the district court’s construction renders

“thermal” in “thermal spacers” superfluous, Van-Packer contends that the

present case is similar to Intel Corporation v. Qualcomm Inc., 21 F.4th 801 (Fed.

Cir. 2021), in which this Court found that “‘hardware buffer’ must mean

something more than just a ‘buffer implemented in hardware,’ … or else the

word ‘hardware’ would be erased from the claims.” (Bf. 11 (quoting Intel, 21

F.4th at 809).) In coming to this conclusion, this Court noted that “every

buffer in our (physical) world is ultimately implemented on a physical

device (i.e., hardware)[.]” Intel, 21 F.4th at 809. In this case, the claim term at

issue is “thermal spacers thermally isolating.” The district court construed

this phrase to mean “components that maintain a space between the inner

duct liner and outer casing that limit the amount of heat conducted through

the components so that they do not create fail points on the inner duct liner

or outer casing during fire rating.” (Appx33.) There is no evidence (or even


                                      - 39 -
           Case: 24-1537   Document: 15       Page: 48   Filed: 07/03/2024




argument) that all spacers “limit the amount of heat conducted through the

components so that they do not create fail points on the inner duct liner or

outer casing during fire rating.” Because the foregoing language of the

district court’s construction ascribes thermal restrictions on the spacers that

are not present in all thermal spacers, the district court’s construction gives

meaning to “thermal spacers” that excludes some spacers, unlike the PTAB’s

construction of “hardware buffer” in Intel that included all buffers.

Consequently, the analysis and findings in Intel are not applicable to the facts

and circumstances of this case.

      D.    Van-Packer Waived Its Proposed “Specific Thermal Property”
            Construction of “Thermal Spacers”

      Van-Packer argues to this Court that the “the term ‘thermal spacers,’

which appears twice in the subject claims, [should] be construed to mean ‘a

spacer having a specific thermal property’ where a ‘spacer’ is something that

maintains two components in a spaced relationship.” (Bf. 10 (purporting to

quote Appx555-556).) This proposed construction is not the construction

Van-Packer proposed below. Rather, Van-Packer argued to the district court

that “thermal spacers” should be construed to mean “’a spacer having a

specific thermal isolation property’ where a ‘spacer’ is something that


                                     - 40 -
          Case: 24-1537     Document: 15        Page: 49   Filed: 07/03/2024




maintains two components in a spaced relationship.” (Appx555-556.) This

Court has made clear that the doctrine of waiver precludes a party from

adopting a new claim construction on appeal that changes the scope of the

claim construction argued below.4 Interactive Gift Exp., Inc. v. Compuserve Inc.,

256 F.3d 1323, 1346 (Fed. Cir. 2001) (citing Sage Prod., Inc. v. Devon Indus., Inc.,

126 F.3d 1420, 1426 (Fed. Cir. 1997) (“In short, this court does not “review”

that which was not presented to the district court.”); see also Key Pharms. v.

Hercon Lab'ys Corp., 161 F.3d 709, 714–15 (Fed. Cir. 1998) (this Court refusing

to consider new claim constructions on appeal as the party may “get the

proverbial ‘second-bite’”).

      Van-Packer’s removal of “isolation” to argue “specific thermal

properties” changes the scope of the proposed construction “specific thermal

isolation properties” that it argued below. (Compare Bf. 10 with Appx555-

556.) By removing “isolation” from its proposed construction Van-Packer

has broadened the scope of that term to encompass any and all “specific



      4 Federal Circuit law governs claim construction waiver. Harris Corp.

v. Ericsson Inc., 417 F.3d 1241, 1250–51 (Fed. Cir. 2005) (“Because the ability
to make claim construction arguments on appeal is intimately bound up
with patent enforcement, we hold that Federal Circuit law controls waiver
in the context of claim construction arguments.”).

                                       - 41 -
           Case: 24-1537   Document: 15       Page: 50   Filed: 07/03/2024




thermal properties” as opposed to only those “specific thermal properties”

that have an ”isolating” function as it argued below. Waiver clearly applies.

      More importantly, Van-Packer has removed “isolation” from its

proposed construction of “thermal spacers” because construing “thermal

spacers” to mean “specific thermal isolation properties” would render the

claim language “thermally isolating” superfluous. Whereas Van-Packer’s

primary argument is that the district court’s construction is erroneous

because it renders “thermal spacers” superfluous, it is no wonder that Van-

Packer has dropped “isolation” from the construction it proposes to this

Court to avoid having its “superfluous” argument turned against them. But

Van-Packer is now foreclosed from raising that revised construction on

appeal having waived that argument by failing to make it below. Interactive

Gift Exp., 256 F.3d at 1346; Key Pharms., 161 F.3d at 714–15.

      E.    The district court did not alter its construction of “thermal
            spacers thermally isolating” when granting summary
            judgment of infringement

      Van-Packer argues that when granting summary judgment of

infringement “the district court changed its construction to specify that

‘spacers with perforations or holes maintain a spaced relationship and limit



                                     - 42 -
          Case: 24-1537    Document: 15       Page: 51   Filed: 07/03/2024




the amount of heat conducted through the components so that they do not

create fail points.” (Bf. 6–7 (quoting Appx69).) This argument takes the

district court’s statement out of context to morph it into something that it is

not. When the statement is read in context it is clear the district court did not

change its construction of “thermal spacers thermally isolating,” but rather

applied its original construction of that term to Van-Packer’s accused

products to find infringement as a matter of law. The district court’s analysis

leading to its conclusion of infringement (which Van-Packer argues

constitutes a different claim construction) is reproduced here:

      Defendants argue that the Court’s claim construction makes
      clear a spacer cannot have holes. See Defs.’ Mot. Summ. J. 17
      [Appx2793] (citing Sept. 3, 2021 Order 22 [Appx22]). First,
      Defendants argue that a thermal spacer cannot contain holes
      because a thermal spacer must maintain the space between the
      inner duct liner and the outer casing and holes do not maintain
      space. See id. To be sure, holes without a spacer could not
      maintain a spaced relationship, but that a spacer is not solid does
      not preclude its overall ability to maintain a space between the
      inner duct liner and outer casing.

      Defendants also argue that the holes cannot be considered part
      of the spacer in light of the claim language. Per Defendants, the
      ’569 Patent “distinctly claims the void separately.” See id. at 18
      [Appx2794] (emphasis added). The ’569 Patent does make clear
      that the duct modules contain a void between the inner duct
      liner and outer casing. See id. at 17–18 [Appx2793-2794]. But
      Defendants’ argument relies too heavily on the word “void” and


                                     - 43 -
          Case: 24-1537    Document: 15       Page: 52   Filed: 07/03/2024




      offers too little in the way of analysis of the actual claim
      language. Perforations in the spacer are not themselves a
      “void … between at least a portion of space between said inner
      duct liner and said outer casing,” id. at 17 [Appx2793] (emphasis
      and quotation marks omitted).

      To review, a “thermal spacer thermally isolating” is a
      component that “maintain[s] a space between the inner duct
      liner and outer casing that limit[s] the amount of heat conducted
      through the components so that they do not create fail points on
      the inner duct liner or outer casing during fire rating testing,”
      Sept. 3, 2021 Order 33 [Appx33]. The Court concludes that
      spacers with perforations or holes maintain a spaced
      relationship and limit the amount of heat conducted through the
      components so that they do not create fail points. This
      conclusion compels the Court to grant summary judgment as to
      infringement in Plaintiff’s favor.

(Appx69 (all alterations and emphasis in original).)

      Van-Packer argues that the second to last sentence quoted above was

the district court “chang[ing] its construction” of “thermal spacers thermally

isolating.” (Bf. 6-7.) Not so. In the immediately prior sentence, the district

court quotes verbatim its original construction of “thermal spacers thermally

isolating.” The district court then applied that construction to Van-Packer’s

accused thermal spacers to come to its “conclusion” of infringement.

Unfortunately, the district court’s conclusion is missing the word

“Defendants,” but reading the statement in context it is clear that the district



                                     - 44 -
          Case: 24-1537   Document: 15       Page: 53   Filed: 07/03/2024




court was stating its conclusion regarding application of its original claim

construction to Defendants’ accused products and not rendering a new

construction of “thermal spacers thermally isolating”:            “To review, a

‘thermal spacer thermally isolating’ is a component that ‘maintain[s] a space

between the inner duct liner and outer casing that limit[s] the amount of heat

conducted through the components so that they do not create fail points on

the inner duct liner or outer casing during fire rating testing,[.]’ The Court

concludes that [Defendants’] spacers with perforations or holes maintain a

spaced relationship and limit the amount of heat conducted thorough the

components so that they do not create fail points. This conclusion compels

the Court to grant summary judgment as to infringement in Plaintiff’s

favor.” (Appx69 (emphasis added).) Only by applying its original

construction to Van-Packer’s accused products could the court “conclude”

that the accused products meet the “thermal spacers thermally isolating”

element and grant summary judgment of infringement. The district court

did not change its original construction of “thermal spacers thermally

isolating” when finding summary judgment of infringement.




                                    - 45 -
           Case: 24-1537    Document: 15       Page: 54   Filed: 07/03/2024




      F.    The Court Properly Found that Van-Packer’s Products Meet
            the “Thermal Spacers Thermally Isolating” Limitation

      Van-Packer argues that the thermal spacers in their accused products

do not meet the “thermal spacers thermally isolating” limitation under its

proposed construction or the construction of the district court. (Bf. 14-15.) As

to infringement under the district court’s proper construction of “thermal

spacers thermally isolating,” Van-Packer’s arguments of no infringement fail

because they have waived all arguments of no infringement under that

construction, and the district court’s finding that no reasonable jury could

find that Van-Packer’s thermal spacers do not meet that construction was

correct in any event. Under Van-Packer’s proposed construction, this Court

would need to remand to the district court for it to consider infringement

under that construction in the first instance.

            1.     Van-Packer has waived any argument that its thermal
                   spacers do not meet the district court’s construction of
                   “thermal spacers thermally isolating”

      Van-Packer argues no infringement under the district court’s

construction because “under the construction of ‘thermal spacers thermally

isolating’ adopted by the district court, it is the holes, rather than the spacers,

‘that limit the amount of heat conducted through the components.’” (Bf 15.)


                                      - 46 -
          Case: 24-1537    Document: 15       Page: 55   Filed: 07/03/2024




But Van-Packer readily admits that it conceded below that its accused

products satisfy the district court’s construction of “thermal spacers

thermally isolating”: “Van-Packer did not dispute that, under the district

court’s construction, the accused products satisfy the ‘thermal spacers

thermally isolating’ limitation.” (Bf. 6.) Consequently, if this Court affirms

the lower court’s construction, then Van-Packer has waived all arguments

on appeal that its accused products do not infringe, and the Court should

affirm.

            2.    The district court properly rejected Van-Packer’s
                  argument that the perforations in its thermal spacers are
                  the separately claimed “voids”

      Van-Packer argues that “the district court erroneously found that holes

or voids defined by the accused spacers are part of such spacers themselves.”

(Bf. 14 (citing Appx69).) Van-Packer concocts this argument by using

semantics to sow confusion between the shape of its thermal spacers, which

contain holes or perforations, and the separate “void” between the inner

liner and outer shell in the claims, which is distinct from and does not pertain

to the thermal spacers.




                                     - 47 -
          Case: 24-1537   Document: 15       Page: 56   Filed: 07/03/2024




      The district court appropriately considered and rejected Van-Packer’s

argument that the perforations in its spacers are the claimed “voids”

between the inner duct liner and the outer casing and, consequently, are not

part of the spacer:

      Defendants also argue that the holes cannot be considered part
      of the spacer in light of the claim language. Per Defendants, the
      ’569 Patent “distinctly claims the void separately.” See
      [Appx2794] (emphasis added). The ’569 Patent does make clear
      that the duct modules contain a void between the inner duct
      liner and outer casing. See [Appx2793-2794]. But Defendants’
      argument relies too heavily on the word “void” and offers too
      little in the way of analysis of the actual claim language.
      Perforations in the spacer are not themselves a “void ... between
      at least a portion of space between said inner duct liner and said
      outer casing,” [Appx1793] (emphasis and quotation marks
      omitted).

(Appx69 (original emphasis).) The district court’s logic is sound and its

finding that the perforations in Van-Packer’s spacers are not the claimed

“void” between the inner duct liner and the outer casing is correct. The

district court also considered and appropriately rejected Van-Packer’s

argument that its claim construction “makes clear a spacer cannot have

holes” (Appx69 (citing Appx2793)):

      First, Defendants argue that a thermal spacer cannot contain
      holes because a thermal spacer must maintain the space between
      the inner duct liner and the outer casing and holes do not


                                    - 48 -
           Case: 24-1537   Document: 15      Page: 57   Filed: 07/03/2024




      maintain space. See [Appx2293]. To be sure, holes without a
      spacer could not maintain a spaced relationship, but that a
      spacer is not solid does not preclude its overall ability to
      maintain a space between the inner duct liner and outer casing.

(Appx69 (original emphasis).) Consequently, the district court’s finding that

spacers with holes in them are not ipso facto excluded by its construction was

correct.

      Additionally, Van-Packer’s argument that the perforations in its

thermal spacers are not part of the thermal spacers fails because it is founded

on mischaracterizations of the record. It is undisputed that the thermal

spacers in the accused products are the metal spacers colored green in the

following picture:




                                    - 49 -
          Case: 24-1537    Document: 15       Page: 58   Filed: 07/03/2024




(Appx2241.) It is also undisputed that these thermal spacers have “cutouts”

(id.), “holes” or “perforations” (Appx69, Appx2167-2168), or “voids,” as

Van-Packer puts it (Bf. 15).

      The independent claims include the following limitations involving a

“void”: “and a void being formed between at least a portion of the space

between said inner duct liner and said outer casing, said void being

configured for receiving an insulation material.”5 (Bf. (i) – (iii)). Thus, Van-

Packer uses the term “void” to identify the perforations in its thermal spacers

to sow confusion between the perforations in its spacers and the claimed

“void” formed between the inner duct liner and the outer shell. To correct

this confusion DuraSystems will use “perforation(s)” to refer to the

perforations in Van-Packer’s spacers and “void” to refer to the claimed void

between the inner duct liner and outer shell.

      First, Van-Packer mischaracterizes the testimony of Mr. Crimi,

DuraSystems’ expert. Referring to the perforations in its thermal spacers,

Van-Packer argues that in his claim charts “DuraSystems’ technical expert,


      5 Independent Claim 16 recites a “compressible insulation material” in

this limitation, but that difference in claim language is not material to the
argument at hand.

                                     - 50 -
          Case: 24-1537    Document: 15       Page: 59   Filed: 07/03/2024




Mr. Crimi, refers to ‘ceramic fiber insulation that occupies the void.’” (Bf. 15

(quoting Appx2241 (emphasis by Appellants)).) Not so. Mr. Crimi used the

word “void” to refer to the claimed “void” formed between the inner duct

liner and the outer casing. The following pictures are reproduced from the

claim chart in Mr. Crimi’s expert report addressing the claim elements

reciting a “void” between the inner duct liner and outer casing filled with

insulation:




                                     - 51 -
         Case: 24-1537   Document: 15      Page: 60   Filed: 07/03/2024




(Appx2239-2240.) On the next page of the claim chart in his expert report

(Appx2241 quoted by Appellants), Mr. Crimi addresses the “thermal spacers

thermally isolating” element:




                                  - 52 -
         Case: 24-1537   Document: 15       Page: 61   Filed: 07/03/2024




(Appx2241.) As seen above, Mr. Crimi’s statement that “ceramic fiber

insulation occupies the void” refers to the insulation occupying the claimed

“void” between the inner duct liner and outer casing pointed out on the




                                   - 53 -
          Case: 24-1537   Document: 15         Page: 62   Filed: 07/03/2024




previous page of his report, not the “cutout portions of the spacers” as Van-

Packer misrepresents. (See Bf. 15.)

      Second, it is the shape of Van-Packer’s thermal spacers that limits the

heat conducted through the spacers so as to not create fail points during fire

rating testing. As noted above, Van-Packer explains in its ’991 Application

that the shape of its spacers is specially designed with “perforations 130

creat[ing] vertical metal strips 132 between the perforations 130” and “[t]he

metal strips 130 act as a heat sink by reducing the amount of heat transferred

between the inner liner 102 and the out [sic, outer] shell 104.” (Appx2167-

2168 (emphasis added)). Despite this pre-litigation representation to the

Patent Office, Van-Packer now argues that “it is indisputably the holes that

limit heat conductivity, as opposed to the spacers, [and] improperly

including the holes as part of the accused spacers falsely imputes a thermal

characteristic to such spacers.” (Bf.15.) This is a semantical argument that

withers under scrutiny.

      There is no dispute that Van-Packer’s spacers are specially shaped to

limit the transfer of heat between the inner liner and the outer shell. The

spacer can be described from the perspective of negative space as having



                                      - 54 -
          Case: 24-1537   Document: 15       Page: 63   Filed: 07/03/2024




“perforations” or “holes,” or described from the perspective of positive

space (as in the ’991 Application) as having metal “strips” formed by the

perforations. Regardless of how they are described, the shape of the spacers

is the same, and the spacers meet the district court’s construction of

“components that maintain a space between the inner duct liner and outer

casing that limit the amount of heat conducted through the components so

that they do not create fail points on the inner duct liner or outer casing

during fire rating.” (Appx69, Appx2218.) Indeed, Van-Packer does not

address the requirement that the spacers “limit the amount of heat

conducted through the components.“ (See Bf. 14-18.) Instead, Van-Packer

merely discusses “thermal isolation” generally without any analysis of the

district court’s actual construction of “thermal spacers thermally isolating.”

(See id.) Nowhere does Van-Packer make any argument or present any

evidence that its thermal spacers conduct sufficient heat through them to

create fail points during fire rating testing. (See id.) Because Van-Packer has

failed to present any evidence or argument that applies the district court’s

actual construction of “thermal spacers thermally isolating” to the accused

products, Van-Packer’s argument that its products do not meet that



                                    - 55 -
          Case: 24-1537   Document: 15      Page: 64   Filed: 07/03/2024




construction fails, and the district court’s judgment of infringement as a

matter of law was correct.

     G.    Reversal Is Not an Appropriate Appellate Remedy Because the
           District Court Has Not Considered Infringement under Van-
           Packer’s Proposed Construction

     Van-Packer argues that “reversal, rather than remand, is the

appropriate manner of disposing of this Appeal” because “[t]he parties filed

cross-motions for summary judgment” on the issue of infringement. (Bf. 18.)

Van-Packer argues that “DuraSystems presented no evidence of

infringement under Van-Packer’s construction of ‘thermal spacers’….” (Id.)

Van-Packer’s argument is misleading and contrary to law.

     The district court issued its claim construction ruling rejecting Van-

Packer’s proposed construction of “thermal spacers” on September 3, 2021.

(Appx26, Appx33.) The parties filed their cross motions for summary

judgment on the issue of infringement on or about June 9, 2022,6 which

motions were based on the district court’s claim constructions. (Appx2160,

Appx2169-2174, Appx2777, Appx2790-2794.) Because the district court



     6  Van-Packer filed their motion for summary judgment of no
infringement at 12:09:26 AM on June 10, 2022, just after the June 9, 2022
deadline. (Appx2777.)

                                   - 56 -
          Case: 24-1537   Document: 15       Page: 65   Filed: 07/03/2024




rejected Van-Packer’s proposed construction that “thermal spacers” require

“specific thermal isolation properties” in its claim construction order

[Appx22, Appx32], neither party presented evidence or argument in their

summary judgment papers addressing Van-Packer’s previously-rejected

construction. [See generally Appx2160-2175 (Plaintiff’s summary judgment

motion for infringement based on the district court’s constructions),

Appx2790-2794     (Defendants’    summary         judgment     motion       for   no

infringement arguing the district court’s claim constructions).) Moreover,

neither party has addressed infringement under Van-Packer’s new, broader

construction argued to this Court requiring merely “a specific thermal

property” because that construction was never presented below. (See

Appx555-556.) Because neither party has presented evidence or argument

concerning infringement under Van-Packer’s construction of “thermal

spacers” rejected by the district court or its new construction proffered to

this Court, the district court has not considered infringement under either

construction in the first instance, and it would, therefore, be inappropriate

for this Court to reverse and find infringement under either construction as

a matter of law. Thus, if this Court reverses the district court’s construction



                                    - 57 -
          Case: 24-1537    Document: 15       Page: 66   Filed: 07/03/2024




of “thermal spacers thermally isolating,” then it should merely remand to

the district court for further proceedings in light of the new construction as

is this Court’s routine procedure when revising a district court’s claim

construction. See, e.g., Edgewell Pers. Care Brands, LLC v. Munchkin, Inc., 998

F.3d 917, 925 (Fed. Cir. 2021) (“Because the district court based its grant of

summary judgment of noninfringement of the ’420 patent on an erroneous

construction, we vacate that judgment and remand.”); Phillips, 415 F.3d at

1328 (“Because we disagree with the district court's claim construction, we

reverse the summary judgment of noninfringement. In light of our decision

on claim construction, it is necessary to remand the infringement claims to

the district court for further proceedings.”).

      Van-Packer’s reliance on In re Lemay, 660 F. App’x 919, 922 (Fed. Cir.

2016), that “an absence of evidence to consider on remand warrants

reversal” is misplaced. (Bf. 19.) Lemay was an “appeal [of] the Final Written

Decision of the United States Patent and Trademark Office's (“USPTO”)

Patent Trial and Appeal Board (“PTAB”), which affirmed in part an

examiner’s rejection of all claims” in a pending patent application. Id. at 920.

Given the procedural posture of that case, the court held that “[w]hen no



                                     - 58 -
         Case: 24-1537   Document: 15       Page: 67   Filed: 07/03/2024




substantial evidence supports the PTAB’s findings, we may reverse its

findings without remanding the matter.” Id. at 922 (citations omitted). This

appeal is not of a PTAB proceeding. This appeal arises from district court

litigation in which two adversarial litigants have the right to present

evidence and argument on all issues. Thus, Lemay is inapposite to the facts

and procedural posture of this case, and Van-Packer has not cited a single

case in which this Court reversed a district court’s claim construction and

ordered entry of summary judgment on infringement based on a

construction for which the parties have not had an opportunity to present

evidence and argue below.




                                   - 59 -
         Case: 24-1537   Document: 15       Page: 68   Filed: 07/03/2024




                             CONCLUSION

     For the foregoing reasons the district court’s judgment of infringement

should be affirmed.


Date: July 3, 2024                      Respectfully submitted,

                                        /s/ Chad E. Nydegger
                                        CHAD E. NYDEGGER
                                        BRIAN N. PLATT
                                        RYAN C. MORRIS
                                        WORKMAN NYDEGGER
                                        60 East South Temple, Suite 1000
                                        Salt Lake City, Utah 84111
                                        Telephone: (801) 533-9800
                                        Attorneys for Appellee DuraSystems
                                        Barriers, Inc.




                                   - 60 -
         Case: 24-1537     Document: 15   Page: 69   Filed: 07/03/2024




                         CERTIFICATE OF SERVICE

     I certify that I caused the foregoing BRIEF FOR APPELLEE

DURASYSTEMS BARRIERS, INC. to be electronically filed with the Clerk of

the Court for the U.S. Court of Appeals for the Federal Circuit by using the

appellate CM/ECF system. I certify service was therefore accomplished by

the CM/ECF system on all participants in the appeal.

                                                DATED: July 3, 2024


                                                /s/ Chad E. Nydegger
          Case: 24-1537    Document: 15     Page: 70   Filed: 07/03/2024




                     CERTIFICATE OF COMPLIANCE

      Pursuant to Fed.R.App.P. 32(a)(7)(C) and Fed.R.App.P. 32(g), I certify

that according to the word-processing system used in preparing it, the

foregoing BRIEF FOR APPELLEE DURASYSTEMS BARRIERS, INC. is 9,958

words in length, excluding those portions exempted by Fed.R.App.P. 32(f)

and Fed.Cir.R. 32(b), and therefore complies with the type-volume

limitation set forth in Fed.Cir.R. 32(a).


                                                  DATED: July 3, 2024


                                                  /s/ Chad E. Nydegger
                                                  CHAD E. NYDEGGER
